                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                     2022-NCCOA-54

                                      No. COA21-127

                                   Filed 1 February 2022

     Franklin County, 20 CVS 630



     IN THE MATTER OF: PATRICIA BURNETTE CHASTAIN



           Appeal by Respondent from Order of Removal entered 16 October 2020 by

     Judge Thomas H. Lock in Franklin County Superior Court. Heard in the Court of

     Appeals 2 November 2021.


           Zaytoun Ballew &amp; Taylor, PLLC, by Matthew D. Ballew, Clare F. Kurdys, and
           Robert E. Zaytoun, for Respondent-Appellant.

           Davis, Sturges &amp; Tomlinson, PLLC, by Conrad B. Sturges, III, for the
           Petitioner-Appellee.


           DILLON, Judge.


¶1         Respondent Patricia Burnette Chastain appeals from an order entered by

     Judge Thomas H. Lock removing her as the Clerk of Superior Court for Franklin

     County. Though there was evidence in the record that could support his decision,

     Judge Lock erroneously based his decision, in part, on acts by Ms. Chastain not

     alleged in the charging affidavit or which do not rise to the level of misconduct.

     Accordingly, we vacate Judge Lock’s Order and remand for his reconsideration in
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     accordance with this opinion.

                                         I. Background

¶2         In 2014, Ms. Chastain was elected by the people of Franklin County to serve

     as their Clerk of Superior Court. She was reelected to a second term in 2018.

¶3         In July 2020, Franklin County attorney Jeffrey Thompson commenced this

     proceeding seeking the removal of Ms. Chastain as Franklin County’s Clerk,

     pursuant to N.C. Gen. Stat. § 7A-105 (2020), by filing an affidavit alleging that she

     had committed various acts of willful misconduct.

¶4         In October 2020, after a hearing on the matter, Judge Lock entered his Order

     permanently removing Ms. Chastain as the Franklin County Clerk of Court based on

     findings that Ms. Chastain had engaged in various acts of misconduct, some of which

     had not been alleged in Mr. Thompson’s affidavit. Judge Lock ultimately based his

     decision on “[t]he nature and type of [her] misconduct in office, the frequency of its

     occurrence, the impact which knowledge of her misconduct would likely have on the

     prevailing attitudes of the community, and [her] reckless disregard for the high

     standards of the Office of Clerk of Superior Court[.]”

¶5         Ms. Chastain timely appealed Judge Lock’s Order.

                                          II. Analysis

¶6         A proceeding regarding the removal of an elected official “is neither a civil nor

     a criminal action.” In re Nowell, 293 N.C. 235, 241, 237 S.E.2d 246, 250 (1977).
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     Rather, it “is merely an inquiry into the conduct of one exercising [official] power to

     determine whether [s]he is unfit to hold [her office]. Its aim is not to punish the

     individual but to maintain the honor and dignity of the [office] and the proper

     administration of justice.” Id. at 241, 237 S.E.2d at 250. “Albeit serious,” removal

     from office is “not to be regarded as punishment but as the legal consequence[ ]

     attached to adjudged [ ] misconduct or unfitness.” Id. at 241, 237 S.E.2d at 251.

¶7         Here, we must determine whether the matter was properly before Judge Lock

     and whether he followed the law correctly in removing Ms. Chastain.

¶8         This matter was brought forth pursuant to Section 7A-105 of our General

     Statutes, enacted by our General Assembly to provide the procedural mechanism for

     the removal of the Clerk of Superior Court in a county. Our General Assembly,

     though, only has the authority to prescribe the procedure and the conditions under

     which an elected official may be removed, where such is not otherwise provided for by

     our Constitution:

                  “[I]t is firmly established that our State Constitution is not
                  a grant of power. All power which is not expressly limited
                  by the people in our State Constitution remains with the
                  people, and an act of the people through their
                  representatives in the legislature is valid unless prohibited
                  by that Constitution [or by the federal constitution].”

     Baker v. Martin, 330 N.C. 331, 334-37, 410 S.E.2d 887, 888-91 (1991) (considering the

     authority of our General Assembly to enact legislation requiring any individual
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       seeking appointment to serve out an unexpired term of an elected judge must be a

       member of the same political party as the judge being replaced).

¶9            We, therefore, must first determine the limitations placed on our General

       Assembly by our Constitution in prescribing a mechanism for the removal of a

       county’s duly elected Clerk.

                                              A. Article IV

¶ 10          The Clerk of Superior Court in a county is a constitutional officer, whose office

       is established by Article IV, section 9(3) of our Constitution.       Our Constitution

       provides two different avenues by which an elected Clerk may be removed. Pertinent

       to this matter and as more fully examined below, one constitutional avenue allows

       for a Clerk to be removed from her current term of office for mere “misconduct” in

       office, while the other avenue allows for a Clerk to be permanently disqualified from

       holding office for “corruption or malpractice in [ ] office.”

¶ 11          The first constitutional avenue is found in Article IV of our Constitution.

       Article IV establishes our judicial branch, including the office of Clerk in each county.

       Section 17 empowers the “senior regular resident Superior Court Judge serving the

       county” to remove the county’s Clerk for “misconduct or [for] mental or physical

       incapacity[.]” N.C. Const. art. IV, § 17(4) (emphasis added).

¶ 12          Significantly, Article IV confers on a single individual, the authority to remove

       the elected Clerk in a county; namely, the senior regular resident Superior Court
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       Judge in that same county. Accordingly, no other judge may be conferred with

       jurisdiction over the subject matter of removing a Clerk for misconduct under Article

       IV. Indeed, consider that Article IV confers on our Senate only the authority to

       conduct an impeachment trial for the removal of our Governor. N.C. Const. art. IV,

       § 4. And it is unquestioned that our General Assembly may not confer on any other

       body or judge the authority to conduct such impeachment trial.

¶ 13         Accordingly, since Judge Lock is not the senior regular resident Superior Court

       Judge in Franklin County, he lacked any authority to remove Ms. Chastain for mere

       “misconduct” under Article IV. The only individual currently conferred with this

       authority under Article IV is Judge John Dunlow, Franklin County’s current senior

       regular resident Superior Court Judge.

¶ 14         It may be that Judge Dunlow has an ethical conflict under our Code of Judicial

       Conduct to consider Ms. Chastain’s removal for misconduct (or incapacity) under

       Article IV. Indeed, after a hearing on Ms. Chastain’s motion to have Judge Dunlow

       disqualified from hearing the matter, another judge ordered that Judge Dunlow was

       ethically required to recuse himself based on a letter Judge Dunlow had written

       which contained “conclusory language regarding” one of the acts of misconduct that

       Ms. Chastain was alleged to have committed.

¶ 15         However, since our Constitution does not confer subject-matter jurisdiction on

       anyone else to consider an elected Clerk’s removal for misconduct under Article IV,
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       the Rule of Necessity applies.      Under this Rule, a judge may hear a matter,

       notwithstanding that his participation may violate a judicial ethical canon, where his

       disqualification “would result in a denial of a litigant’s constitutional right to have a

       question properly presented to such a court.” Lake v. State Health Plan for Teachers

       &amp; State Emps., 376 N.C. 661, 664, 852 S.E.2d 888, 890 (2021).

¶ 16         Our Supreme Court has cited to the Rule of Necessity in holding that a

       Governor may decide a clemency request though he had previously been involved in

       the prosecution of the criminal making the request when previously serving as

       Attorney General. Bacon v. Lee, 353 N.C. 696, 717-18, 549 S.E.2d 840, 854-55 (2001)

       (noting that the Governor is the only individual constitutionally empowered to hear

       clemency requests). Our Business Court also relied on the Rule of Necessity in

       considering the propriety of members of a county board of commissioners to sit in

       judgment of the removal of one of its members, notwithstanding ethical concerns:

                    The court cautions that it also has not held that any
                    removal from office would be foreclosed even if bias could
                    be proven in any further proceeding. The court is aware of
                    no authority by which the Board could delegate its decision
                    making by appointing a special committee as might a
                    private corporation. As such, other than a recall election, it
                    is the only body having authority to consider removal.
                    There are cases where courts have upheld even biased
                    quasi-judicial decisions when they were made by the only
                    governmental body that had the power to make the finding.
                    They did so employing a doctrine referred to as the “rule of
                    necessity.”
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       Berger v. New Hanover County Bd. of Comm’rs, 2013 NCBC 45, ¶74 (2013) (emphasis

       in original).

¶ 17          The fact that it was Ms. Chastain who sought Judge Dunlow’s recusal does not

       change our analysis concerning Judge Lock’s lack of authority to consider her removal

       under Article IV. As our Supreme Court has stated, “we have never found that a

       party can waive the fundamental requirement that a court have subject matter

       jurisdiction.” In re T.R.P., 360 N.C. 588, 595, 636 S.E.2d 787, 793 (2006).

                                               B. Article VI

¶ 18          Having concluded that the Article IV avenue could not serve as the basis for

       Judge Lock’s decision to remove Ms. Chastain from office, we must consider the other

       constitutional avenue by which a sitting Clerk may be removed, found in Article VI.

       Article VI prescribes that certain classes of individuals are disqualified from holding

       any office. Relevant to this present case, a Clerk may be removed from her current

       term as a consequence of being disqualified from holding any office under Article VI

       where she is “adjudged guilty of corruption or malpractice in any office[.]” N.C.

       Const. art. VI, § 8 (emphasis added).1




              1 Other classes of individuals which our Constitution declares to be disqualified from

       holding office include those “adjudged guilty of [a] felony . . . and who has not been restored
       to the rights of citizenship[,]” any person “who has been removed by impeachment[,]” any
       person “not qualified to vote in an election for [the] office[,]” and “any person who shall deny
       the being of Almighty God.” N.C. Const. art. VI, § 8.
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¶ 19         Clearly, this Article VI standard is higher than the mere “misconduct”

       standard found in Article IV. But unlike Article IV, Article VI does not specify any

       procedure or confer authority on any particular judge or body to make disqualification

       determinations based on acts of corruption or malpractice. Our General Assembly

       may, therefore, prescribe a procedure. Indeed, well over a century ago, our Supreme

       Court recognized the inability of a court to declare an individual disqualified from

       holding office without legislative authorization to do so:

                    If the courts were authorized by legislative enactment to
                    pronounce in their judgments upon a conviction of [a
                    felony] the disqualification of the defendant for office[,]
                    then the judgments and punishments would be different
                    and there would be much force in the argument, in the
                    absence of any other legislation on the subject. But the
                    courts have no such power. They can only render such
                    judgments as the law annexes to the crimes, and empowers
                    them to pronounce.

       State v. Jones, 82 N.C. 685, 686 (1880). More recently, in a case involving the removal

       of an elected judge, our Supreme Court reiterated our General Assembly’s authority

       to prescribe a procedure to disqualify an individual under Article VI:

                    We conclude that the [use] of the term “adjudged
                    guilty” [in Article VI] permits the General Assembly
                    to prescribe proceedings in addition to criminal trials
                    in which an adjudication of guilt will result in
                    disqualification from office. Pursuant to that
                    authorization, the legislature enacted G.S. 7A-376,
                    barring a judge from future judicial office when he
                    has been removed by this Court for wilful
                    misconduct in office.
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       In re Peoples, 296 N.C. 109, 166, 250 S.E.2d 890, 923 (1978) (emphasis added).

¶ 20         Our General Assembly has enacted Section 7A-105, under which this present

       matter was brought. We, therefore, turn to its provisions in our evaluation of Judge

       Lock’s Order.

¶ 21         Section 7A-105 states that a Clerk may be (1) “suspended or removed from

       office” (2) “for willful misconduct or mental or physical incapacity” and (3) that the

       proceeding “shall be initiated by the filing of a sworn affidavit” and heard “by the

       senior regular resident superior court judge serving the county of the clerk’s

       residence.” N.C. Gen. Stat. § 7A-105.

¶ 22         As we construe Section 7A-105, we are mindful that, while our General

       Assembly may prescribe a procedure for the disqualification of an elected Clerk under

       Article VI, our General Assembly may not add conditions which would render a Clerk

       disqualified from holding office to those already provided for in our Constitution.

       Indeed, our Constitution states that any “qualified voter in North Carolina who is 21

       years of age” is eligible to be elected to any office, “except as in this Constitution

       disqualified.” N.C. Const. art. VI, § 6. And our Supreme Court has instructed that

       “N.C. Const. art. VI, § 6 does expressly limit disqualifications to office for those who

       are elected by the people to those disqualifications set out in the Constitution.” Baker,

       330 N.C. at 339, 410 S.E.2d at 892 (emphasis added) (stating our General Assembly
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       may add conditions of disqualifications for those seeking appointment to an office).

¶ 23          Also, our General Assembly lacks authority to allow for the imposition of a

       sanction against a Clerk which is not already provided for under our Constitution.

       See Peoples, 296 N.C. at 161, 250 S.E.2d at 920 (noting “the scope of removal

       proceedings [under the statute] cannot be broader than the constitutional [provision]

       which authorized the General Assembly to set up a procedure for removal and

       censure of judges”).

¶ 24          Here, Judge Lock ordered Ms. Chastain “permanently removed” as Clerk. This

       sanction is certainly within the sanction allowed for in Article VI, as it is akin to being

       “disqualified.” Further, we hold that the sanction in Section 7A-105 that a Clerk may

       be “removed” includes that a Clerk may be “permanently removed.”

¶ 25          We now address whether a judge has authority to permanently remove

       someone from only the office of Franklin County Clerk, as Judge Lock did here, when

       acting pursuant to authority granted by Article VI, where Article VI prescribes the

       sanction of disqualification from holding any office.        That is, can our General

       Assembly prescribe a procedure whereby a judge can order a “lesser-included”

       sanction to that provided for in our Constitution? Certainly, the disqualification from

       holding a particular office is a lesser-included sanction than disqualification from

       holding any office.

¶ 26          We hold that any constitutional authority to sanction an elected Clerk in a
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       particular way includes the authority to issue a lesser-included sanction. In so

       holding, we are persuaded by the fact that though Section 17 of Article IV authorizes

       our General Assembly to establish a procedure for the censure or removal of judges,

       our General Assembly has established a procedure whereby our Supreme Court may

       also “suspend” and “public[ly] reprimand” a judge. N.C. Gen. Stat. § 7A-376. And,

       our Supreme Court has imposed these lesser sanctions on offending judges pursuant

       to this statute. See, e.g., In re Hartsfield, 365 N.C. 418, 431-32, 722 S.E.2d 496, 505
       (imposing a 75-day suspension without pay); In re Clontz, 376 N.C. 128, 143, 852

       S.E.2d 614, 624 (2020) (issuing a public reprimand).

¶ 27          We next address whether Judge Lock had authority to sanction Ms. Chastain

       under Article VI for her “misconduct in office[.]” The procedure in Section 7A-105

       allows for a Clerk to be removed for “willful misconduct.” While Article IV allows for

       the removal of a Clerk for “misconduct,” which certainly includes “willful

       misconduct,” only Judge Dunlow has authority under that Article to remove Ms.

       Chastain for “misconduct.” In any event, the relevant portion of Article VI does not

       expressly provide for a Clerk’s removal for “misconduct” or “willful misconduct,” but

       rather for “corruption or malpractice in any office[.]”

¶ 28          Our Supreme Court, though, has held that, in a case involving egregious

       conduct, an “adjudication of [a judge’s] ‘willful misconduct in office’ . . . is equivalent

       to an adjudication of guilt of ‘malpractice in any office’ as used in N.C. Const., art. VI,
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       § 8[,]” a finding which would disqualify the judge from holding any office in the future.

       Peoples, 296 N.C. at 166, 250 S.E.2d at 923. It is unclear, however, if our Supreme

       Court intended to suggest in Peoples that every act of “willful misconduct” rises to the

       level of “corruption or malpractice” to warrant disqualification under Article VI.

¶ 29         We do hold that acts of misconduct which do not rise to the level of willful

       misconduct do not equate to “corruption or malpractice” under Article IV. In any

       event, we note that under our case law and the plain language of our Constitution,

       not all “misconduct” is deemed to be willful. We do note that our Supreme Court has

       stated that “persist[ent]” acts of “misconduct” may rise to the level of “wilful

       misconduct.” In re Martin, 302 N.C. 299, 316, 275 S.E.2d 412, 421 (1981).

¶ 30         Our Supreme Court has held in the context of a criminal statute that “willfully”

       means “something more than an intention to commit the offense.                It implies

       committing the offense purposely and designedly in violation of law.”           State v.

       Stephenson, 218 N.C. 258, 264, 10 S.E.2d 819, 823 (1940). In the same vein, in the

       context of a proceeding to discipline a judge, our Supreme Court

                    ha[s] defined “wilful misconduct in office” as involving
                    “more than an error of judgment or a mere lack of
                    diligence.” We have also stated that “[w]hile the term
                    would encompass conduct involving moral turpitude,
                    dishonesty, or corruption, these elements need not
                    necessarily be present.” As we observed in In re Martin,
                    supra, “if a judge Knowingly and wilfully persists in
                    indiscretions and misconduct which this Court has
                    declared to be, or which under the circumstances he should
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                       know to be, acts which constitute wilful misconduct in office
                       and conduct prejudicial to the administration of justice
                       which brings the judicial office into disrepute, he should be
                       removed from office.”

       In re Martin, 302 N.C. at 316, 275 S.E.2d at 421 (internal citations omitted) (italics

       in original).

¶ 31          Neither party cites to any other case defining what constitutes “corruption or

       malpractice,” as used in Article VI.        We construe the language to include at a

       minimum acts of willful misconduct which are egregious in nature, as those in

       Peoples. Further, we construe the language “willful misconduct” in Section 7A-105

       in the context of an Article VI hearing to include only those acts of willful misconduct

       which rise to the level of “corruption or malpractice” in office. Accordingly, Judge

       Lock lacked authority to rely on any acts of Ms. Chastain that did not rise to this level

       to support his sanction under Article VI.

                                             C. Due Process

¶ 32          We next consider the language in Section 7A-105 that the proceeding “shall be

       initiated by the filing of a sworn affidavit.” We note that this procedure was followed,

       as this proceeding was initiated by the filing of Mr. Thompson’s affidavit alleging

       various acts of misconduct by Ms. Chastain. However, Judge Lock made findings

       concerning acts that had not been alleged in Mr. Thompson’s affidavit and relied on

       those findings, in part, to support his sanction. Our Supreme Court, though, has held
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       that any procedure to remove an elected official must afford that official due process.

       See In re Spivey, 345 N.C. 404, 413-14, 480 S.E.2d 693, 698 (1997) (holding that our

       Constitution does not prohibit our General Assembly from enacting methods for

       removal “so long as [the officers’] whose removal from office is sought are accorded

       due process of law”); see also In re Nowell, 293 N.C. 235, 241-42, 237 S.E.2d 246, 251
       (1977) (holding that “fundamental fairness entitles [the officer] to a hearing which

       meets the basic requirements of due process”). We hold that Ms. Chastain has the

       due process (and statutory) right to notice of the acts for which her removal was being

       sought. We, therefore, conclude that Judge Lock’s reliance on these acts that were

       not alleged in Mr. Thompson’s affidavit violated Ms. Chastain’s due process rights.

¶ 33         We note the appellee’s argument that Ms. Chastain “opened the door” to the

       presentation of other acts. However, to the extent that she opened the door, Judge

       Lock could only consider those acts to assess Ms. Chastain’s credibility, as she had no

       notice that she would be subject to removal for those acts. (In the same way, a

       criminal defendant who opens the door to the admission of past criminal acts can only

       be punished in that trial for the acts for which he was indicted; the past criminal acts

       may only be used to show the likelihood that he committed the acts for which he was

       indicted.)

                                           D. Jurisdiction

¶ 34         Finally, we consider the language in Section 7A-105 that the matter be heard
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       by the “senior regular resident superior court judge serving the county of the clerk’s

       residence.” We hold, though, that Judge Lock’s involvement is not necessarily fatal.

       Unlike the provision in Article IV vesting jurisdiction in the senior resident judge to

       remove a Clerk for “misconduct”, we hold the statutory requirement found in Section

       7A-105 to be procedural in nature. Indeed, the statute speaks to the requirement as

       a matter of “procedure.” Id. Jurisdiction to consider a matter under Section 7A-105

       lies with our Superior Court division generally.

¶ 35         In this case, Judge Dunlow’s participation was adjudicated as being in

       violation of our Code of Judicial Conduct. And though our General Assembly has not

       expressly prescribed a procedure allowing another judge to substitute for the senior

       resident judge in a Section 7A-105 matter, our Supreme Court recognizes that the

       judiciary may prescribe a procedure, not inconsistent with our Constitution, to fill in

       procedural gaps left open by our General Assembly:

                    Within the guidelines of our Constitution, the legislature
                    is charged with the responsibility of providing the
                    necessary procedures for the proper commencement of a
                    matter before the courts. Occasionally, however, the
                    prescribed procedures of a statutory scheme fail to embrace
                    the unanticipated and extraordinary proceeding such as
                    that disclosed by the record before us.          In similar
                    situations, it has been long held that courts have the
                    inherent power to assume jurisdiction and issue necessary
                    process in order to fulfill their assigned mission of
                    administering justice efficiently and promptly. We believe
                    that this is one of those extraordinary proceedings and that
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                    our rules of procedure should not be construed so literally
                    as to frustrate the administration of justice.

       In re Investigation of Death of Eric Miller, 357 N.C. 316, 322, 584 S.E.2d 772, 778
       (2003). Accordingly, we hold that this matter was properly before Judge Lock.

                                          III. Conclusion

¶ 36         This matter was properly before Judge Lock to consider whether Ms. Chastain

       should be removed for “corruption or malpractice” in office under Article VI.

       However, it is not clear from his Order whether Judge Lock applied the correct

       standard. That is, it is unclear whether Judge Lock was removing Ms. Chastain for

       “misconduct” under Article IV, which he lacks the power to do, or whether he was

       removing Ms. Chastain because he thought her acts rose to the level of “corruption or

       malpractice in [her] office.” Further, Judge Lock erroneously based his sanction of

       Ms. Chastain, in part, on acts which were not contained in the charging affidavit, in

       violation of her due process rights. We, therefore, vacate Judge Lock’s Order and

       remand for further proceedings consistent with this opinion.

¶ 37         The subject of any rehearing before Judge Lock is limited to whether the acts

       alleged in the affidavit before him rose to the level of “corruption or malpractice” in

       office under Article VI of our Constitution. Any hearing to consider Ms. Chastain’s

       removal from her current term of office for misconduct under Article IV must be

       before the senior regular resident Superior Court Judge of Franklin County.
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VACATED AND REMANDED.

Judges WOOD and GORE concur.
